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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


Everett McKinley Dirksen United States Courthouse                                          Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                                Phone: (312) 435-5850
              Chicago, Illinois 60604                                                     www.ca7.uscourts.gov




                                                         ORDER
 May 4, 2020
                                                             Before
                                    MICHAEL S. KANNE, Circuit Judge

                                    ILANA DIAMOND ROVNER, Circuit Judge

                                    DAVID F. HAMILTON, Circuit Judge


                                         CAMELOT BANQUET ROOMS, INC., et al.,
                                         Plaintiffs - Appellees

 No. 20-1729                             v.

                                         UNITED STATES SMALL BUSINESS ADMINISTRATION, et al.,
                                         Defendants - Appellants

                                         J.R. SCHUSTER, LLC,
                                         Plaintiff - Appellee

 No. 20-1730                             v.

                                         UNITED STATES SMALL BUSINESS ADMINISTRATION, et al.,
                                         Defendants - Appellants

 Originating Case Information:

 District Court No: 2:20-cv-00601-LA
 Eastern District of Wisconsin
 District Judge Lynn Adelman

 Originating Case Information:

 District Court No: 2:20-cv-00634-LA
 Eastern District of Wisconsin
 District Judge Lynn Adelman




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      Upon consideration of the GOVERNMENT’S EMERGENCY MOTION FOR
STAY PENDING APPEAL AND IMMEDIATE ADMINISTRATIVE STAY, filed on
May 4, 2020, by counsel for the appellants,

      IT IS ORDERED that the district court's preliminary injunction is temporarily
STAYED pending resolution of this motion. The government shall reserve guarantee
authority for potential loans to the appellees in the amount appellees previously
applied for, but need not transmit any funds until after this court has ruled on the
government's motion to stay the injunction pending appeal.

       IT IS FURTHER ORDERED that the appellees shall respond to the
government’s motion to stay on or before May 8, 2020. The government may file a reply
on or before May 11, 2020.




 form name: c7_Order_3J(form ID: 177)




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